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            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )               CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                           ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on a Motion in Limine to Preclude Government

from Introducing Certain Exhibits at Trial filed by Defendant Amon Thomas on May 2, 2009

(Docket No. 111). The Government has submitted a DNA Lab Certificate of Analysis wherein

certain items apparently tested positive for the presence of Defendant Amon Thomas’s DNA.

These items include include: 1) a pair of pants (Agency No. 104); 2) a blue and grey hooded

jacket (Agency No. 132); and 3) blood stains on left door of a Toyota Camry (Agency No. 165).

Defendant requests that the Court preclude the Government from introducing the above items as

well as any evidence relating to the license plates of a stolen vehicle. The Government does not

oppose Defendant’s Motion and has informed the Court that it will not introduce these items or

photos of these items into evidence. After consideration and the Court being fully advised in the

premises, it is hereby




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       ORDERED that Defendant Amon Thomas’ Motion in Limine to Preclude Government

from Introducing Certain Exhibits at Trial (Docket No. 111) is GRANTED. It is further

       ORDERED that the Government may not introduce evidence of the pair of pants

(Agency No. 104), blue and grey hooded jacket (Agency No. 132); blood stains on left door of

the Toyota Camry or the license plates of a stolen vehicle. Additionally, the Government may

not introduce any photographs of these items at trial.



       ENTERED this 9th day of July, 2009.


                                              _______________/s/________________________
                                              HONORABLE RAYMOND L. FINCH
                                              SENIOR U.S. DISTRICT JUDGE




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